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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 COLUMBUS DIVISION

IN RE:

 RONALD M BERRY, JR                                             CASE NO. 23-53204-MNK-13
 aka RONALD M. BERY
 aka RON M BERRY

   Debtor

                ENTRY OF APPEARANCE AND REQUEST FOR SERVICE

         The undersigned, Christopher M. Hill, hereby enters his appearance as counsel of record

for the Creditor, MY Rent to Own, LLC, and respectfully requests that all pleadings, orders,

process and other papers required to be served herein be served upon him at the address noted

below.


                                            Respectfully Submitted,

                                            /s/ Christopher M. Hill

                                            Christopher M. Hill
                                            Ohio Bar #74838
                                            Christopher M. Hill & Associates, LLC
                                            P.O. Box 817
                                            Frankfort, KY 40602
                                            502-226-6100/telephone
                                            502-223-0700/facsimile
                                            chrish@hillslaw.com
                                            Counsel for My Rent to Own, LLC




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                                 CERTIFICATE OF SERVICE

       This is to certify that a true and accurate copy of the foregoing was served on the debtor,

counsel for debtor, the trustee and other parties in interest, by either ordinary U.S. Mail, postage

pre-paid, or via electronic filing on this 18th day of December, 2023.

Ronald M. Berry, Jr
13097 County Road 59
De Graff, OH 43318
Debtor

Scott R Needleman
5300 E Main St Suite 109
Columbus, OH 43213
Counsel for Debtor

Trustee
Edward A. Bailey
Edward A. Bailey - Chapter 13 Trustee
550 Polaris Parkway Ste 500
Westerville, OH

U.S. Trustee
U.S. Trustee for the Southern District of Ohio
170 North High St., Suite 200
Columbus, OH 43215

                                             /s/ Christopher M. Hill

                                             Christopher M. Hill
                                             Counsel for My Rent to Own, LLC




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